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      AO 245B-CAED (Rev. 09/2019) Sheet 1 - Judgment in a Criminal Case



                                  UNITED STATES DISTRICT COURT
                                                     Eastern District of California
                     UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                v.                                             Case Number: 6:20MJ00013-001
                     FRANK ANTHONY CAMARGO                                     Defendant's Attorney: Benjamin Gerson, Assistant Federal Defender
      THE DEFENDANT:
           pleaded guilty to counts one, two, and seven of the Complaint.
           pleaded nolo contendere to count(s)      , which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      The defendant is adjudicated guilty of these offenses:
      Title & Section                   Nature of Offense                                                         Offense Ended         Count
      36 CFR § 4.21(c)                      Operate a vehicle at a speed in excess of the speed limit             6/29/2020             one
      36 CFR § 4.12                         Fail to comply with traffic control device                            6/29/2020             two
                                            Drive recklessly upon a highway in willful or
      36 CFR § 4.2                          wanton disregard for the safety of persons or property where          6/29/2020             seven
                                            alcohol was a factor

             The defendant is sentenced as provided in pages 2 through          of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      .
           Counts four, five, and six are dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                      Appeal rights waived.

              It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
      residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
      ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
      circumstances.
                                                                              4/7/2021
                                                                              Date of Imposition of Judgment




                                                                              Signature of Judicial Officer
                                                                              Helena M. Barch-Kuchta, United States Magistrate Judge
                                                                              Name & Title of Judicial Officer
                                                                              4/16/2021
                                                                              Date




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      AO 245B-CAED (Rev. 09/2019) Sheet 4 - Misdemeanor Probation
      DEFENDANT: FRANK ANTHONY CAMARGO                                                                                                 Page 2 of 3
      CASE NUMBER: 6:20MJ00013-001

                                                                    PROBATION
      The defendant is hereby sentenced to probation for a term of: 12 months unsupervised probation .

      If this judgment imposes a fine, special assessment, processing fee or restitution, it is a condition of probation that Defendant pay in
      accordance with the Schedule of Payments sheet of this judgment.

      While on probation, the defendant shall be subject to and must comply with the following conditions of probation:

                                                        CONDITIONS OF PROBATION
      1.    The defendant's probation shall be unsupervised by the probation office.
      2.    The defendant is ordered to obey all federal, state, and local laws.
      3.    The defendant shall notify the court and the government officer within seven days of any change in the defendant's address. If
            represented, the defendant shall provide such notice through counsel.
      4.    The defendant shall pay a fine of $1220.00 and a special assessment of $30.00 for a total financial obligation of $1250.00 which
            shall be paid at the rate of $125.00 per month commencing on May 6, 2021 and each month thereafter until paid in full on or
            before 2/28/2022. Payments shall be made payable to the Clerk, U.S.D.C., and mailed to:

                CLERK U.S.D.C.
                2500 Tulare Street, Rm 1501
                Fresno, CA 93721
      5.    The defendant shall personally appear for a probation review hearing on October 5, 2021, and March 15, 2022, both at 10 a.m.,
            before U.S. Magistrate Judge Barch-Kuchta.
            A status report regarding the defendant's performance on probation shall be filed 14 days prior to the Probation Review whether
            the defendant is fully in compliance or not.
      6.    The defendant shall advise the court and Government Officer through Counsel, if represented, within seven days of being cited
            or arrested for any alleged violation of law.
      7.    The defendant shall not operate a motor vehicle with any detectable amount of alcohol in defendant's system.
      8.    The defendant shall not refuse to or fail to complete a chemical test to determine blood alcohol content, if requested by a Law
            Enforcement Officer.
      9.    The defendant shall complete a DMV approved Wet and Reckless program by 9/15/2021.




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      AO 245B-CAED (Rev. 09/2019) Sheet 6 - Schedule of Payments
      DEFENDANT: FRANK ANTHONY CAMARGO                                                                                                    Page 3 of 3
      CASE NUMBER: 6:20MJ00013-001

                                                            SCHEDULE OF PAYMENTS
              Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

      A.               Lump sum payment of $            due immediately, balance due
                                 Not later than      , or
                                 in accordance              C,      D,         E,or         F below; or
      B.               Payment to begin immediately (may be combined with              C,           D,      or    F below); or

      C.               Payment in equal $125.00 monthly payments beginning 5/6/2021              over a period of 10 months to be paid in
                       full on or before 2/28/2022 (e.g. 30 or 60 days) after the date of this judgment; or

      D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

      E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                       from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at
                       that time; or

      F.               Special instructions regarding the payment of criminal monetary penalties:
                          Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                             CLERK U.S.D.C.
                             2500 Tulare Street, Rm 1501
                             Fresno, CA 93721
                       Your check or money order must indicate your name and citation/case number shown above to ensure your account
                       is credited for payment received.

      If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10% of the
      defendant’s gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau of Prisons
      Inmate Financial Responsibility Program.

      The defendant shall make payments toward any unpaid criminal monetary penalties in this case during supervision at the rate of at
      least 10% of your gross monthly income. Payments are to commence no later than 60 days from placement on supervision. This
      payment schedule does not prohibit the United States from collecting through all available means any unpaid criminal monetary
      penalties at any time, as prescribed by law.

      The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate:

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
               Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

      Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
      assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
      including cost of prosecution and court costs.




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